           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                             1:17 cr 34


UNITED STATES OF AMERICA,           )
                                    )
     v.                             )                                  ORDER
                                    )
RANDALL LEROY FRADY,                )
                                    )
               Defendant.           )
____________________________________)


       Pending before the Court is Defendant’s Motion to Allow Defendant to File

Sentencing Memorandum Under Seal [# 61]. In accordance with the Local Rules, the

Court has considered the Motion to Seal, the public’s interest in access to such materials,

and alternatives to sealing. The Court determines that no less restrictive means other than

sealing is sufficient because a public filing of such sentencing materials could either reveal

protected information under HIPAA or the E-Government Act, or endanger the physical

wellbeing of a person who has provided a supporting letter. The Court will, however,

consider any request made in the future to unseal such materials.

       Accordingly, the Court GRANTS the Motion to Allow Defendant to File

Sentencing Memorandum Under Seal [# 61]. Defendant’s Sentencing Memorandum shall

be SEALED and remain sealed until further Order of this Court.

                                          Signed: January 22, 2018




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